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UN|TED STATES D|STRICT COURT
WESTERN DlSTRICT OF TENNESSEE Ff|-£`.'.
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_V_ 04-20351-1-Ma w.o. 1ot~' tr\§,` i!.JiIav`iPt{iiTs`

UN|TED STATES OF AN|ERICA

NlAUR|CE JACKSON
Edwin A. Perry, FPD
Defense Attorney
200 Jefferson Avenue, Suite 200
N|emphis,Tennessee 38103

 

JUDGNlENT |N A CRI|V||NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on January 10, 2005. Accordingly, the
court has adjudicated that the defendant is guilty of the following offense(s):

Date Offense Count
Tit|e & gagnon Nature of Offense Conc|uded Number(s)

18 U.S.C. § 922(g) Fe|on in possession of a firearm 01/22/2004 1

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Fteform Act of 1984 and the Nlandatory
Victims Ftestitution Act of 1996.

|T |S FURTHER ORDERED that the defendant shall notify the United States Attomey for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Senterice:
Defendant’s Date of Birth: 4/17/1969 April 15, 2005
Deft’s U.S. |Vlarshal l\lo.: 20008-076

Defendant’s Ftesidence Address:
3227 Sinclair Lane
Nlemphis, TN 38127

jA// ”"-1__

SAMUEL H. MAYS, JR.
UN|TED STATES D|STR|CT JUDGE

 

_ '1-¢
April , 2005

Thls document entered on the docket sheet in compliance

with ama 55 and!or 32{13) Fsch on 4 'Q_J '05/

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Case No: 04-20351-01-Nla
Defendant Name: Maurice Jacl<son Page 2 of 5

lN|PR|SONNlENT

The defendant is hereby committed to the custody of the United States Bureau ot
Prisons to be imprisoned for a term of thirty (30) months.

The Court recommends to the Bureau of Prisons:

That defendant be designated to serve his term of imprisonment at a facility closest
to Memphis, Tennessee.

The defendant is remanded to the custody of the United States |V|arshal.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES MARSHAL
By:

 

Deputy U.S. Marshal

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Case No.' 04-20351-01-i\/|a
Defendant Name: l\/iaurice Jackson Page 3 of 5

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of two `(2) years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whiie on supervised reiease, the defendant shall not commit another federa|, state
or local crime and shaft not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1l The defendant shall not leave thejudicial district Without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, trainingl or other acceptable reasons;

5. The defendant shall notify the probation officer ten (10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substancel or any paraphernalia related to such
substancesl except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are iiiegaliy so|d, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at horne or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

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Case No: 04-20351-01-Ma
Defendant Name: Maurice Jacl<son Page 4 of 5

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

13. if this judgment imposes a fine or a restitution obligationl it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal Nlonetary Pena|ties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
reiease:

1. The defendant shall participate as directed in a program (outpatient and/or inpatient)
approved by the Probation Officer for treatment of narcotic addiction or drug or alcohol
dependency which may include testing for the detection of substance use or abuse. Fu rther,
the defendant shall be required to contribute to the costs of services for such treatment not
to exceed an amount determined reasonable by the Probation Officer.

2. The defendant shall seek and maintain lawful full-time employment

3. The defendant shall obtain his General Educational Development (G.E.D.) Diploma.

4. The defendant shall cooperate in the collection of DNA as directed by the Probation Officer.

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Case No: 04-20351-01-Ma
Defendant Name: Maurice Jackson Page 5 of 5

CR||V||NAL lVlONETARY PENALTIES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Scheduie of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Totai Assessment Tota| Fine Totai Restitution

$100.00

The Special Assessment shall be due immediately.

FINE
No fine imposed

REST|TUTION
No Ftestitution was orderedl

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 25 in
case 2:04-CR-20351 Was distributed by faX, mail, or direct printing on
April 21 , 2005 to the parties listed.

 

 

Edwin A. Perry

FEDERAL PUBLIC DEFENDER
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Ste. 200

i\/lemphis7 TN 38103

Lavvrence J. Laurenzi

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

